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       In the United States District Court
        Western District of Pennsylvania
              Pittsburgh Division

In re: PHILIPS RECALLED CPAP,       Case No. 2:21-mc-01230-JFC
Bi-Level PAP, AND MECHANICAL        MDL No. 3014
VENTILATOR PRODUCTS
LIABILITY LITIGATION

DERRICK MARTIN KING,                Case No. 2:24-cv-01693-JFC

               Plaintiff,           Judge JOY FLOWERS CONTI

       vs.

CORNERSTONE MEDICAL
SERVICES—MIDWEST LLC, et al.,

               Defendants


Pro Se PLAINTIFF DERRICK MARTIN KING’S REPLY IN SUPPORT OF
           HIS MOTION TO REMAND TO STATE COURT
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                            STATEMENT OF THE FACTS

I.     INTRODUCTION.

       Counsel for the Philips Defendants 1 are once again attempting to mislead this

Court with regard to whether or not this this Court has Article III jurisdiction over

the case. The pending motions to remand to state court. 2 Plaintiff Derrick Martin

King (hereinafter “Plaintiff King”) hereby responds to the arguments presented by

the Philips Defendants. 3

II.    HISTORY OF THE PENDING PROCEEDINGS.

       On July 7, 2024, Plaintiff King filed a complaint in the Summit County (Ohio)

Court of Common Pleas. 4 Plaintiff King named as Defendants in that complaint

Cornerstone Medical Services—Midwest LLC (hereinafter “Cornerstone”); Philips RS




1 For the purposes of this document, the Philips Defendants are Philips RS North

America LLC (hereinafter “Philips Respironics”), Philips North America LLC
(hereinafter “Philips Electronics”) and Philips RS North America Holding
Corporation (hereinafter “Philips RS Holding”).
2 King v. Cornerstone Medical Services—Midwest LLC, et al., W.D. Pa. no 2:24-cv-

01693-JFC ECF No. 4 (originally filed in the U.S. District Court for the Northern
District of Ohio); In re Philips Recalled CPAP, Bi-Level PAP, and Mechanical
Ventilator Products Liability Litigation, W.D. Pa. no. 2:21-mc-01230-JFC, MDL No.
3014 ECF Nos. 3252, 3253.
3 Plaintiff includes a signed declaration in support of his motion to remand to state

court (hereinafter “King Declaration”).
4 King v. Cornerstone Medical Services—Midwest LLC, et al., W.D. Pa. no. 2:24-cv-

01693-JFC ECF No. 1; King v. Cornerstone Medical Services—Midwest LLC, et al.,
Ohio C.P. no. CV-2024-07-2674 (included as a part of the record as King v.
Cornerstone Medical Services—Midwest LLC, et al., W.D. Pa. no. 2:24-cv-01693-JFC
ECF No. 1-2.


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North America LLC (hereinafter “Philips Respironics”); and Philips RS North

America Holding Corporation (hereinafter “Philips RS Holding”). 5

         On August 5, 2024, Philips Respironics removed the case to Federal court. 6

Two days later, Plaintiff King filed his first motion to remand to state court. 7 Philips

Respironics then filed a motion to stay proceedings pending their filing of a motion to

transfer to this Court and inclusion in MDL No. 3014. In re Philips Recalled CPAP,

Bi-Level PAP, and Mechanical Ventilator Products Liability Litigation, W.D. Pa. No.

2:21-mc-01230-JFC, MDL No. 3014. 8

         On December 13, 2024, the JPML entered a transfer order and the case was

remanded to this Court. 9 On March 21, 2025, this Court entered an Order setting an

oral hearing on all motions to remand shall be held on May 6, 2025 following the

conclusion of the status conference. 10 The rationale for the Court is as follows:




5 Id.

6 King v. Cornerstone Medical Services—Midwest LLC, et al., W.D. Pa. no. 2:24-cv-

01693-JFC ECF No. 1 (originally filed in King v. Cornerstone Medical Services—
Midwest LLC, et al., N.D. Ohio no 5:24-cv-01344-BYP).
7 King v. Cornerstone Medical Services—Midwest LLC, et al., W.D. Pa. no. 2:24-cv-

01693-JFC ECF No. 4 (originally filed in King v. Cornerstone Medical Services—
Midwest LLC, et al., N.D. Ohio no 5:24-cv-01344-BYP).
8 King v. Cornerstone Medical Services—Midwest LLC, et al., W.D. Pa. no. 2:24-cv-

01693-JFC ECF No. 5 (originally filed in King v. Cornerstone Medical Services—
Midwest LLC, et al., N.D. Ohio no 5:24-cv-01344-BYP).
9 King v. Cornerstone Medical Services—Midwest LLC, et al., W.D. Pa. no. 2:24-cv-

01693-JFC ECF No. 16.
10 In re Philips Recalled CPAP, Bi-Level PAP, and Mechanical Ventilator Products

Liability Litigation, W.D. Pa. no. 2:21-mc-01230-JFC, MDL No. 3014 ECF No. 3250).


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      The court endeavored to identify all pending remand motions in the
      Philips MDL. Some were filed only at the individual case; some were
      filed only at the master docket (#21-1230); and others were properly
      cross-filed at both the individual and master dockets. See PTO # 1 (ECF
      No. 4). To be clear, the court will be setting oral argument for all remand
      motions, even if the case number is not listed above. 11

      In an abundance of caution, on March 21, 2025, Plaintiff King filed a second

motion to remand to state court. 12 On April 11, 2025, counsel for the Philips

Defendants 13 filed a response in opposition to Plaintiff King’s motion. 14 The Philips

Defendants argue that: (1) complete diversity exists because Cornerstone is a citizen

of Delaware and Pennsylvania; 15 and (2) the amount in controversy exceeds




11 In re Philips Recalled CPAP, Bi-Level PAP, and Mechanical Ventilator Products

Liability Litigation, W.D. Pa. no. 2:21-mc-01230-JFC, MDL No. 3014 ECF No. 3249
at 1 fn. 1.
12 In re Philips Recalled CPAP, Bi-Level PAP, and Mechanical Ventilator Products

Liability Litigation, W.D. Pa. no. 2:21-mc-01230-JFC, MDL No. 3014
13 Defendant Philips RS North America LLC (hereinafter “Philips Respironics”) and

Defendant Philips RS North America Holding Corporation (hereinafter “Philips RS
Holding”) are referred to collectively as “the Philips Defendants.”
14 King v. Cornerstone Medical Services—Midwest LLC, et al., W.D. Pa. no. 2:24-cv-

01693-JFC ECF No. 26; In re Philips Recalled CPAP, Bi-Level PAP, and Mechanical
Ventilator Products Liability Litigation, W.D. Pa. no. 2:21-mc-01230-JFC, MDL No.
3014 ECF No. 3286.
15 King v. Cornerstone Medical Services—Midwest LLC, et al., W.D. Pa. no. 2:24-cv-

01693-JFC ECF No. 26 at pp. 3-4; In re Philips Recalled CPAP, Bi-Level PAP, and
Mechanical Ventilator Products Liability Litigation, W.D. Pa. no. 2:21-mc-01230-JFC,
MDL No. 3014 ECF No. 3286.


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$75,000. 16 Plaintiff King now files his reply to the arguments presented by the Philips

Defendants.

RELEVENT LAW REGARDING MOTIONS TO REMAND TO STATE COURT

I.     ARTICLE III JURISDICTION OF FEDERAL COURTS.

       The United States Constitution is very clear on the jurisdiction of the Federal

courts. Article III states:

       The judicial Power of the United States, shall be vested in one supreme
       Court, and in such inferior Courts as the Congress may from time to
       time ordain and establish. The Judges, both of the supreme and inferior
       Courts, shall hold their Offices during good Behaviour, and shall, at
       stated Times, receive for their Services, a Compensation, which shall not
       be diminished during their Continuance in Office.

U.S. Const. art. III § 1. Article III courts (as courts of limited jurisdiction) must first

consider whether authority exists to hear a case before moving on to the merits.

Steel Co. v. Citizens for a Better Environment, 523 U.S. 83, 94-95 (1998). Without

subject-matter jurisdiction, a federal court lacks authority to hear a case. Lightfoot

v. Cendant Mortgage Corp., 580 U.S. 82, 91 (2017).

II.    DIVERSITY JURISDICTION.

       Congress provides for Federal courts to obtain Article III jurisdiction of state-

court complaints by statute. 28 U.S.C. § 1332(a) states:




16 King v. Cornerstone Medical Services—Midwest LLC, et al., W.D. Pa. no. 2:24-cv-

01693-JFC ECF No. 26 at pp. 4-5; In re Philips Recalled CPAP, Bi-Level PAP, and
Mechanical Ventilator Products Liability Litigation, W.D. Pa. no. 2:21-mc-01230-JFC,
MDL No. 3014 ECF No. 3286.


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      The district courts shall have original jurisdiction of all civil actions
      where the matter in controversy exceeds the sum or value of $75,000,
      exclusive of interest and costs, and is between—

      (1)    citizens of different States;

      (2)    citizens of a State and citizens or subjects of a foreign state, except
             that the district courts shall not have original jurisdiction under
             this subsection of an action between citizens of a State and
             citizens or subjects of a foreign state who are lawfully admitted
             for permanent residence in the United States and are domiciled
             in the same State;

      (3)    citizens of different States and in which citizens or subjects of a
             foreign state are additional parties; and

      (4)    a foreign state, defined in section 1603(a) of this title, as plaintiff
             and citizens of a State or of different States.

      If a federal court of competent jurisdiction determines that a case lacks federal

question or diversity jurisdiction, the court must remand the case. 28 U.S.C. § 1447(c).

Moreover, if a party improperly removes a case to federal court pursuant to 28 U.S.C.

§ 1441, the court must remand the case back to the state court from which it had been

removed. 28 U.S.C. § 1447(d). A court may initiate remand sua sponte or upon motion

of a party. 28 U.S.C. § 1441. Because federal courts are courts of limited jurisdiction,

the removing party bears the burden of establishing federal jurisdiction. Wilson v.

Republic Iron & Steel Co., 257 U.S. 92 (1921).

      Removal jurisdiction raises significant federalism concerns and, as such,

federal courts must strictly construe such jurisdiction. Merrell Dow Pharm, Inc. v.

Thompson, 478 U.S. 804, 808 (1986); Shamrock Oil & Gas Corp. v. Sheets,

313 U.S. 100, 104 (1941). Accordingly, a federal court must resolve any doubt of its




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removal jurisdiction in favor of state court jurisdiction. Shamrock Oil, supra, 313 U.S.

at 108-109.

                                    ARGUMENT

I.     THE PHILIPS DEFENDANTS HAVE NOT PRESENTED PROPER EVIDENCE OF
       DIVERSITY JURISDICTION IN THE NORTHERN DISTRICT OF OHIO AT THE TIME
       THE NOTICE OF REMOVAL WAS FILED.

       The Philips Defendants argue that there is complete diversity as Cornerstone

is a citizen of Delaware and Pennsylvania. In support of their contention, the Philips

Defendants submitted a declaration of Christina Manfredi McKinley. The declaration

states that on August 2, 2024, McKinley was a “shareholder” at Babst, Calland,

Clements and Zomnir, P.C. (hereinafter “Babst Calland”). 17 There is no statement in

the declaration that identifies the role that Babst Calland has in this case. 18 Thus,

the declaration of McKinley has no evidentiary value.

       Documents filed with the Ohio Secretary of State indicate that on October 18,

2004, William A. Powell (hereinafter “Powell”) filed articles of organization which




17 King v. Cornerstone Medical Services—Midwest LLC, et al., W.D. Pa. no. 2:24-cv-

01693-JFC ECF No. 26-1, ¶ 1; In re Philips Recalled CPAP, Bi-Level PAP, and
Mechanical Ventilator Products Liability Litigation, W.D. Pa. no. 2:21-mc-01230-JFC,
MDL No. 3014 ECF No. 3286-1 at ¶1.
18 The Philips Defendants cite the case of Skywark v. Healthbridge Mgmt., LLC, W.D.

Pa. no. 1:15-cv-00058-BJR, 2015 U.S. Dist. LEXIS 193867, 2015 WL 13621058 (Jul.
22, 2015) in their argument that removing defendants can rely on sworn declarations
to establish a party’s citizenship to demonstrate diversity jurisdiction. In Skywark,
the removing defendants included a declaration from the general counsel of an LLC
whose citizenship was being challenged. The declarant clearly identified himself as
general counsel for the LLC.18 The situation in this case is distinguishable from the
situation in the Skywark case.


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registered Cornerstone as an Ohio limited liability company. 19 Powell is listed as the

secretary for the newly established LLC, and the address listed is Summa Health

Systems, 525 East Market Street, Akron, Ohio 44309. 20 An internet search reveals

that Powell was serving as Secretary and General Counsel for Summa Health

Systems (a nonprofit organization). 21 The Philips Defendants have not established by

a preponderance of evidence that Cornerstone is not a citizen of Ohio.

      With regard to the purported declaration from Cornerstone (submitted by

McKinley), Plaintiff conducted an internet search to find out the connection that

McKinley has with Cornerstone. 22 He reviewed the directory page for the

Disciplinary Board of the Pennsylvania Supreme Court (which includes listings for

all attorneys licensed to practice in Pennsylvania). Plaintiff accessed the directory

listing for licensed attorney Christina Manfredi McKinley, and it indicates that




19 King Declaration at 3. See Ohio Secretary of State (2004). Articles of Organization

for     a    Domestic     Limited     Liability   Company.     Retrieved    from
https://bizimage.ohiosos.gov/api/image/pdf/200429200170 (accessed Apr. 13, 2025)
(annexed herein and marked as Exhibit A).
20 King Declaration at ¶ ¶ 4-5; Exhibit A.

21 King Declaration at ¶ 6. See IRS Form 990 Return of Organization Exempt from

Income Tax for Summa Health (annexed herein and marked as Exhibit B).
22 King Declaration at ¶ 9. See Disciplinary Board of the Pennsylvania Supreme Court

(2025), Directory Entry for Christina Manfredi McKinley. Retrieved from
https://www.padisciplinaryboard.org/for-the-public/find-attorney/attorney-
detail/320002 (accessed Apr. 11, 2025). annexed herein and marked as Exhibit C.


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McKinley’s license is active (admitted to practice law in Pennsylvania on April 17,

2015). 23

         Plaintiff accessed the Babst Calland website and discovered that Babst

Calland is a law firm headquartered in Pittsburgh, Pennsylvania and having

locations in Charleston, Harrisburg, State College, and Washington DC. 24 Plaintiff

then accessed the Babst Calland attorney directory and discovered that McKinley is

not employed with Babst Calland. 25

         Plaintiff reviewed the Disciplinary Board of the Pennsylvania Supreme Court

directory entry for McKinley and the document indicated that she is currently

employed with the law firm of Blank Rome LLP (hereinafter “BlankRome”). 26 A

review of the BlankRome attorney directory indicates that McKinley is a partner at

the Pittsburgh, Pennsylvania location. 27

         It should be noted that in its Notice of Removal, Philips Respironics also

submitted declarations from William B. Monahan (who serves as counsel for Philips




23 Id.

24 King Declaration at 11. See Babst Calland LLP (2025), Locations. Retrieved online

from https://www.babstcalland.com/firm/locations/ (accessed Apr. 11, 2025) (annexed
herein and marked as Exhibit D).
25 King Declaration at 12.

26 King Declaration at 13; Exhibit C.

27 King  Declaration at 14. See Blank Rome LLP (2025), Biography of Partner
Christina           Manfredi         McKinley.          Retrieved         from
https://www.blankrome.com/people/christina-manfredi-mckinley (accessed Apr. 11,
2025) (annexed herein and marked as Exhibit E).


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RS North America Holding Corporation). 28 Plaintiff King is familiar with Monahan’s

role as counsel for the other Philips entities and does not challenge the jurisdiction of

the other Philips entities in this litigation.

       The Philips Defendants also cite the case of David A, Waldron & Assoc. v. Loon,

LLC, et al., N.D. Ohio no. 5:11-cv-02247, 2012 U.S. Dist. LEXIS 63669, 2012 WL

1598122 (Apr. 17, 2012) where a magistrate issued a report and recommendation that

the plaintiffs’ motion to remand should be denied. In the David A. Waldren & Assoc.

case, there is a dispute over the use of the term “residents” and not using the term

“citizen” in the notice of removal. 29

       The Philips Defendants fail to attach business records from Cornerstone which

disputes Plaintiff King’s assertion that Cornerstone is an Ohio limited liability

company. In addition, the Philips Defendants failed to include any declarations from

any employees of Cornerstone.

       Throughout the pending litigation, Plaintiff has been serving documents on

Cornerstone (sent to the headquarters or to Michael Irvine (hereinafter “Director




28 King v. Cornerstone Medical Services—Midwest LLC, et al., W.D. Pa. no. 2:24-cv-

01693-JFC ECF No. 1-7 (originally filed in King v. Cornerstone Medical Services—
Miswest LLC, et al., N.D. Ohio no. 5:24-cv-01344-BYP). It should be noted here that
Philips Respironics also attached to the Notice of Removal corporate records for other
Philips entities that are involved in the litigation. King v. Cornerstone Medical
Services—Midwest LLC, et al., W.D. Pa. no. 2:24-cv-01693-JFC ECF Nos. 1-4, 1-5
(originally filed in King v. Cornerstone Medical Services—Midwest LLC, et al., N.D.
Ohio no. 5:24-cv-01344-BYP).
29 David A. Waldron & Assoc., supra, 2012 U.S. Dist. LEXIS 63669 at *15-16.




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Irvine”), who is employed with Cornerstone and is the Director. 30 A business profile

on the Better Business Bureau for Cornerstone indicates that Director Irvine is the

highest-ranking employee of Cornerstone. 31

II.     THE PHILIPS DEFENDANTS HAVE NOT DEMONSTRATED THAT THE AMONT-IN-
        CONTROVERSY EXCEEDS $75,000.

        In their response to Plaintiff’s Motion, the Philips Defendants argue that the

amount in controversy exceeds $75,000. The Philips Defendants refer to the case of

King v. Koninklijke Philips N.V., et al., W.D. Pa. no. 2:23-cv-02040-JFC. The original

complaint (King v. Koninklijke Philips N.V., et al., W.D. Pa. no. 2:23-cv-02040-JFC

ECF No. 1-1, originally filed in King v. Koninklijke Philips N.V., et al., N.D. Ohio no.

5:23-cv-02042-PAB). On June 14, 2024, Plaintiff filed a voluntary dismissal pursuant

to Fed. R. Civ. P. 41(A). King v. Koninklijke Philips N.V., et al., W.D. Pa. no. 2:23-cv-

02040-JFC ECF No. 22; In re Philips Recalled CPAP, Bi-Level PAP, and Mechanical

Ventilator Products Liability Litigation, W.D. Pa. no. 2:21-mc-01230-JFC, MDL No.

3014 ECF No. 2840. 32




30 King Declaration at ¶ 15.

31 King Declaration at ¶ 16. See Better Business Bureau (2025), Business Profile for

Cornerstone     Medical      Services—Midwest        LLC.     Retrieved     from
https://www.bbb.org/us/oh/akron/profile/medical-equipment/cornerstone-medical-
services-midwest-llc-0272-195609023 (accessed Apr. 11, 2025) (annexed herein and
marked as Exhibit F).
32 The Philips Defendants cite the case of Judge v. Phila. Premium Outlets, E.D. Pa.

no. 2:2010-cv-01553-RB, 2010 U.S. Dist. LEXIS 56762, 2010 WL 2376122, *7-8 (Jun.
8, 2010) in which the court denied a motion to remand where the complaint did not
allege a specific maximum in the damages sought (citing Frederico v. Home Depot,



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      The plaintiff's complaint at the time of removal controls a district court's

subject matter jurisdiction inquiry when the case is based on diversity jurisdiction.

See St. Paul Mercury Indemnity Co. v. Red Cab Co., 303 U.S. 283 ("The status of the

case as disclosed by the plaintiff's complaint is controlling in the case of a

removal. . . ."); Werwinski v. Ford Motor Co., 286 F.3d 661, 666 (3d Cir. 2002) (“A

district court's determination as to the amount in controversy must be based on the

‘plaintiff’s complaint at the time the petition for removal was filed.’”) (quoting Steel

Valley Auth. v. Union Switch Div., 809 F.2d 1006, 1010 (3d Cir. 1987)); Meritcare Inc.

v. St. Paul Mercury Ins. Co., 166 F.3d 214, 217 (3d Cir. 1999) (determining amount

in controversy at time of removal)). This mirrors the rule in originally filed cases

"where the inquiry is directed to the time when the complaint is filed." Id. (citing

Pullman v. Jenkins, 305 U.S. 534 (1939)).

                                   CONCLUSION

      The Philips Defendants have failed to demonstrate that Federal courts have

Article III jurisdiction under the diversity of citizenship or amount-in-controversy




507 F.3d 188, 197 (3d Cir. 2007)). However, the findings of the Frederico case was
superseded in statute. See Dart Cherokee Basin Operating Co., LLC v. Owens, 574
U.S. 81, 88 (2014) (under the Federal Courts Jurisdiction and Venue Clarification Act
of 2011, Pub. L. 112-63, 125 Stat. 758 (Dec. 7, 2011), if there is a challenge to the
amount in controversy, both sides submit proof and the court decides, by a
preponderance of the evidence, whether the amount-in-controversy requirement has
been satisfied) (see 28 U.S.C. § 1446(c)(2)(B)).


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statute. This Court has no choice but to remand the case to the Summit County (Ohio)

Court of Common Pleas.

      For the reasons stated herein, Plaintiff King prays the Court grant his motion

to remand the matter to the Summit County (Ohio) Court of Common Pleas.

Date: April 13, 2025.                     Respectfully Submitted

                                          /s/ Derrick Martin King
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                         CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing document was

filed via the Court’s CM/ECF system. Parties and all counsel of record may access

and download the filing via the CM/ECF system or via MDL Centrality.

Date: April 13, 2025.                     /s/ Derrick Martin King
                                          DERRICK MARTIN KING
                                          Pro se Plaintiff




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